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                                     UNITED STATES BANKRUPTCY COURT
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                                     WESTERN DISTRICT OF WASHINGTON
16                                             AT SEATTLE
17
18     In re                                                     Case No. 14-10421-MLB
19
20     CASEY R. INGELS,
21                                          Debtor.
22
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24
25
26     JOHN S. PETERSON, as Bankruptcy Trustee,                  Adversary No. 14-01387-MLB
27
28                                          Plaintiff,
29
30     vs.                                                       EX PARTE ORDER SHORTENING TIME
31
                                                                 FOR HEARING ON DEFENDANT’S
32
33
       CASEY R. INGELS,                                          MOTION IN LIMINE
34
35                                          Defendant.
36
37
38                   THIS MATTER having come before this Court on Defendant’s Motion to Shorten
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             Time on Hearing on Defendant’s Motion in Limine (the “Motion”) , the Court having
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43           reviewed the Motion to Shorten Time and finding that good cause exists to shorten time,
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45           now, therefore, it is hereby
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47


        EX PARTE ORDER SHORTENING TIME FOR
        HEARING ON DEFENDANT’S MOTION IN
                                                                             720 Olive Way, Suite 1000
        LIMINE - 1
                                                                                 Seattle, WA 98101
                                                                       206-624-9894 phone / 206-624-8598 fax


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 1                ORDERED that the hearing on Debtor’s Motion in Limine shall be held on June
 2
 3       _____, 2015, at _______a.m./p.m. and responses to the Motion will be due at the date/time
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 6
         of hearing.
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 8                                      /// END OF ORDER ///
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11       Presented by:
12
13
14       THE
15
               TRACY LAW GROUP PLLC
16
17
18       By     /s/ Jamie McFarlane
19       J. Todd Tracy, WSBA #17342
20       Jamie McFarlane, WSBA #41320
21       Attorneys for Debtor/Defendant
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        EX PARTE ORDER SHORTENING TIME FOR
        HEARING ON DEFENDANT’S MOTION IN
                                                                     720 Olive Way, Suite 1000
        LIMINE - 2
                                                                         Seattle, WA 98101
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